       Case 1:12-cv-10953-RGS Document 20 Filed 01/11/13 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
                                     EASTERN DIVISION

WILLIAM M. CONIGLIARO                                 )
       PLAINTIFF                                      )
                                                      )
V S.                                                  )       NO. 1:12-CV-10953-JLT
                                                      )
EQUIFAX INFORMATION SERVICES, LLC                     )
       DEFENDANT                                      )

                                 STIPULATION OF DISMISSAL

        The parties hereby stipulate to dismiss the above captioned action pursuant to

Fed.R.Civ.P. 41(a)(1)(A)(ii) with prejudice and without costs.

                                              Plaintiff
                                              William M. Conigliaro
                                              By his attorney,

                                              /s/ Philip H. Cahalin
                                              Philip H. Cahalin, BBO # 545538
                                              85 Exchange Street, Suite 206
                                              Lynn, MA 01901
                                              t. 781.598.3130
                                              f. 781.598.3131
                                              email: pcahalin@cahalinlaw.com
Defendant
Equifax INFORMATION SERVICES, LLC
By its attorneys,

/s/ Kendall Carter                            /s/ Katherine S. Kayatta
Kendall Carter, Esq.                          Katherine S. Kayatta
King & Spalding, LLP                          Robinson & Cole
1180 Peachtree Street                         One Boston Place
Atlanta, GA 30309                             Boston, MA 02108-4404
404-572-2495                                  617-557-5931
kcarter@kslaw.com                             kkayatta@rc.com

                              CERTIFICATE OF SERVICE
        I, Philip H. Cahalin, hereby certify that this document filed through the ECF
system on January 11, 2013, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing and by first class mail to those not registered
electronically.
                                               /s/ Philip H. Cahalin
                                               Philip H. Cahalin
